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     "lbAO 2456 (CASD) (Rev, 12/11) Judgment in a Criminal Case with Probation
                Sheet I

                                                                                                                                   fiLED
                                               UNITED STATES DISTRICT COURT ZOIZ MAR 21 AM 1: 30
                                                   SOUTHERN DISTRICT OF CALIFORNIA
                                                                                                                        CLERK U~) t),
                     UNITED STATES OF AMERICA                                         JUDGMENT IN A CRIMfl'rAJ:.icXSE'
                                         v.                                           (For Offenses Committed On or~fter November I,~ nF'np

                  FERNANDO ARREOLA-RANGEL (I)                                         Case Number: llCR5821-LAB
                                                                                      AMY KIMPEL, FEDERAL DEFENDERS, INC.
                                                                                      Defendant's Attorney
     REGISTRAnON NO. 29738298

     o
     THE DEFENDANT:
     181 pleaded guilty to count(s) ONE OF THE INFORMATION
     o was found guilty on count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
           after a plea of not guilty.
           Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                            Count
     Title & Section                          Nature of Offense                                                                            Number(s)
8 USC 1324(a)(l)(A)(iv) and            Inducing and Encouraging Illegal Aliens to Enter the United States and Aiding                        1
(v)(II)                                and Abetting




        The defendant is sentenced as provided in pages 2 through                 3          ofthis judgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.
  o The defendant has been found not guilty on count(s)
  o   Count(s)_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ is
                                                             ----------------------------------------------
                                                                          0 areD dismissed on the motion ofthe United States.
  181 Assessment: $100.00 - WAIVED

  181 No fine                                        0 Forfeiture pursuant to order filed                                      , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days ofany change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notify the court and United States Attorney of any material change in the defendant's economic circumstances.




                                                                                 HON. LARRY ALAN BURNS
                                                                                 UNITED STATES DISTRICT JUDGE
                                                                                                                                                II CR5821-LAB
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AD 245B (CASD) (Rev. 12/11) Judgment in a Criminal Case with Probation
           Sheet 2 -- Probation


DEFENDANT: FERNANDO ARREOLA-RANGEL (1)
CASE NUMBER: llCR5821-LAB
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                                                                                                                                            -~--
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                                                                  PROBATION
The defendant is bereby sentenced to probation for a term of:
 5 YEARS WITH TIME SERVED

The defendant sball not commit another federal, state, or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. Tbe defendant sball refrain from any unlawful use ofa controlled
substance. The defendant shaH submit to one drug test witbin 15 days of placement on probation and at least two periodic drug tests
tbereafter as determined by tbe court. Testing requirements will not exceed submission of more tban 4 drug tests per month during
the term of supervision, unless otherwise ordered by court.                                          -­

o      The above drug testing condition is suspended, based on the court's determination that tbe defendant poses a low risk of
       future substance abuse. (Check, if applicable.)

181 The defendant shall not possess a fIrearm, ammunition, destructive device, or any other dangerous weapon.
181 The defendant shall cooperate in the collection of a DNA sample from the defendant, pun.'Ul1IIt to section 3 of the DNA Analysis
    Backlog Elimination Act of 2000,pursuant to 18 USC sections 3563(a)(7) and 3583(d).                                   .
o      The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.) as directed
       by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides, works, is a student, or
       was convicted ofa qualifying offense. (Check ifapplicable.)
o      The defendant shall participate in an approved program for domestic violence. (Cbeck, if applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of probation that the defendant pay any such fine or
restitution in accordance with the Scbedule of Payments sheet of this judgment.
        The defendant shall comply with the standard conditions that bave been adopted by this court (set forth below). Tbe defendant shaH
also comply with the special conditions imposed.

                                       STANDARD CONDITIONS OF SUPERVISION
  1)    tbe defendant shall not leave the judicial district without the permission of tbe court or probation offIcer;
  2)    the defendant shall report to the probation offIcer in a manner and frequency directed by the court or probation offIcer;
  3)    the defendant shall answer truthfully all inquiries by the probation offIcer and follow the instructions of the probation offIcer;
  4)    the defendant shall support his or her dependents and meet other family responsibilities;
  5)     tbe defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
         acceptable reasons;
  6)     the defendant shall notify the probation offIcer at least ten days prior to any cbange in residence or employment;
  7)     the defendant sball refrain from excessive use ofalcobol and shall not purchase, possess, use,distribute, or administer any controlled
         substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)     the defendant shall not associate with any persons engaged in criminal activity and shal1 not associate with any person convicted of
         a felony, unless granted permission to do so by the probation offIcer;
 10)     the defendant shall permit a probation offIcer to visit him or her at any time at home or elsewhere and shall permit confiscation of
         any contraband observed in plain view of the probation officer;
 11)     the defendant shall notify the probation offIcer within seventy-two hours of being arrested or questioned by a law enforcement
         officer;
 12)     the defendant sball not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
         permission of the court; and
 13)     as directed by the probation officer, the defendant shaH notify third parties of risks that may be occasioned by the defendant's
         criminal record or personal history or characteristics and shall permit the probation officer to make sucb notifications and to confirm
         the defendant's compliance with such notifIcation requirement.



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         AO 245B (CASD) (Rev. 12/11 Judgment in a Criminal Case with Probation
                    Sheet 3 - Special Conditions
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         DEFENDANT: FERNANDO ARREOLA-RANGEL (I)
         CASE NUMBER: llCR5811-LAB




                                               SPECIAL CONDITIONS OF SUPERVISION
o     Submit person, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and in a
      reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit to a
      search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant to
      this condition.                                                                                                                              II

o     If deported, excluded, or allowed to voluntarily return to country of origin, not reenter the United States illegally and report to the probation
      officer within 24 hours of any reentry to the United States; supervision waived upon deportation, exclusion or voluntary departure.
181 The defendant shall not commit another federal, state or local crime.
o     Not associate with undocumented aliens or alien smugglers.
181   Not reenter the United States illegally.
o     Not enter the Republic of Mexico without written permission ofthe Court or probation officer.
o     Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
o     Not possess any narcotic drug or controlled substance without a lawful medical prescription.
o Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any form.
o Participate in a program of mental health treatment as directed by the probation officer, take all medications as prescribed by a
  psychiatrist/physician, and not discontinue any medication without permission. The Court authorizes the release of the presentence report
      and available psychological evaluations to the mental health provider, as approved by the probation officer. Allow for reciprocal release of
      information between the probation officer and the treatment provider. May be required to contribute to the costs of services rendered in an
      amount to be determined by the probation officer, based on the defendant's ability to pay.                                                   II
o     Take no medication containing a controlled substance without valid medical prescription, and provide proof of prescription to the probation
      officer, if directed.
o     Provide complete disclosure of personal and business financial records to the probation officer as requested.
o     Be prohibited from opening checking accounts or incurring new credit charges or opening additional lines of credit without approval of the
      probation officer.
o     Seek and maintain full time employment and/or schooling or a combination of both.
o     Resolve all outstanding warrants within                days.
o     Complete           hours of community service in a program approved by the probation officer within
o     Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of

o Participate in a program of drug or alcohol abuse treatment, including urinalysis or sweat patch testing and counseling, as directed by the
  probation officer. Allow for reciprocal release of information between the probation officer and the treatment provider. May be required to
      contribute to the costs of services rendered in an amount to be determined by the probation officer, based on the defendant's ability to pay.




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